Case 2:17-cV-Ol465-VAP-PLA Document 1-5

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DONALD R. McKILLOP, SR. SB#131685

 

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ERIN mLEY
SUPERIoR COURT OP THE STATE op CALIFORNIA
COUNTY OF LOS ANGBLES, cENTRAL DISTRJCT
ERJN ruLBY, ) cASE No.: 36 6 41 7 § 1 4
` )
Plainriff, ) COMPLAINT FOR DAMAGES FGR GENDER
) DISCRIMINATION lN VIOLATION OF
v. ) CAL. GOV’T CODB § 12940(5);
) VIOLAHON oF cALlFoRNIA EQUAL PAY
MOLINA HEALTHCARE, JNC., ) ACT; SEXUAL HARASSMENT/I~IGSTILE
a Delaware Corporation, ) WORK ENVIRONMENT I`N VIOLATION OF
_ and Do% 1 through 50, ) CAL. GOV’T CODE §§ 12940(&) & G);
mclusive ) RETALIATION IN vIOLATloN oF
) CAL.GOV’TCGDE§12940(h);FAlLuRET0
) PREVENT DISCRIMINATION, RETALLAHON
Defendams. ) AND HARASSMENT IN VIOLATION oF
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cAL. LABOR coDE § 1102.5(1)); y
coNSTRUCTIVB DISCHARGB rN VIoLATION
OF PUBLIC POLICY; VIOLATION OF CAL.
LABOR cone §§ 226 ET SBQ.; VIOLATIQN
OF CAL. LABOR CODE § 1193.5; GENDER
DISCRIMNAHON IN VIOLATION OF 42
U.S.c §§ zoooe»z(a)(x), ET SEQ;
SEXUAL HARASSMENT/HOSHLB WORK
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Rclaliu!ion and Homssmcn! in Violatl'on ofCal. Gnv‘l Code § 12940(|<); Violn!ion ofCal. Lnbor Cndo§ llol.$(b); Consuud\vu Dischargu in Violul£on ofPub|x`c
Polloy‘, V£olu!h)u ol'CaL Lnbor Co<!o §§ 226 cl xcq.; V`ro!axlon ofCa|. hameon § l \98.5; Gcndcr Dl:crhnlnolion fn Vlo!ulion o!`42 u.S.C §§ 1000¢-2(:)](!). ct seq,;
Scxual Hamssmenll}lod\lc Work Envimnmcnt in V\olnx!on ol'42 U.S.C. §§ 200{>¢-2(::]( l), ex s¢q.; Relnlintiou ln V|o(mlou ol'42 U.S.C. §§ ZOUUc-J(n); Falluro lo
Provcul Hmssmnnl, Disc:iminntioa, und Rda!|al£on i'n Vio(ol\on 0f41 U.S.C. §§ ZOGOc-Z(a)(\), el soq.; Vio!a(ion of Equal Foy Ac! 29 U.S.C. §§ 205(¢1}(1),¢! s=q.

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ENvIRoNMENr IN vloLATIoN

oF 42 U.s.c. §§ zoooe_~z(a)(l ),

ET sEQ.; RETALIATION rN

IN vloLATIoN oF 42 U.s.c. §§ 2000¢-3@;
FAILURE To PREVENT HARASSMENT,
DISCRIMINATION, AND

RETALIATION IN vloLArIoN or=

42 U.s.c. §§ zoooe_z(a)(i), ET sEQ.;
vroLArroN or EQUAL PAY Acr

29 U.s.C. §§ 206(d)(1), ET. sEQ.

[UNLlMITED JURISDICTION
Amount demanded exceeds $25,000]
DEMAND FOR JURY TRIAL
Plaint_iff alleges: _
1. Plaintiff at all times herein mentioned was a female residing in Los Angeles
County, California,

2. Plaintiff at all relevant times was employed by Defendant MOLINA
HEALTHCARE, INC. (“MOLINA”) at its principal office in Los Angeles County, California.

3. Defendant MOLINA HEALTHCARE, INC. is a Delaware Corporation doing
business in California, with its principal office in Los Angeles County, California. Defendant is
subject to suit under the Califomia Fair Employment and Housing Act, Government Code
§§ 12940(a) et seq. (FEHA) and Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000 et
seq. in that Defendant regularly employs five or more persons.

4. At all times herein, JEFFREY BARLOW (“BARLOW”) was Senior Vice

President, General Counsel, and Secretary of Defendant MOLINA.
5. Plaintiff is ignorant of the true names and capacities of defendants sued herein as

Does l through 50, inclusive, and therefore sues these defendants by such fictitious names.
Plaintif?t` will amend this complaint to allege their true names and capacities when ascertained

Plaintiif is informed and believes and thereupon alleges that each of the tictitiously named

 

 

 

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Complaint for Damagc for Ocndcr Dism`minmion in Viol:uion ofCa!. Gov'l Codc § \2940(0)'. Viola!ion ofCalifomia Equal Pay Ad; Scxusl Harassmcnl/Rosxilc
ka Envimnm¢ru in Violation ofCal. Gov’l Codc §§ 12940{n) & (j); Relal|atlon in Viola!ion oanl. Gov'l Code § \2940(h); Fnilure to Prcvcnt Discrimination.
Rcta\iozion and Hzmusmcm in Violaiion ofCal. Gov'l Co¢!c § l2940(k)'. Violalion ol'Cnl. Labor Codc§ 1 l02.5[b); Conslmmivc Dischmgc in Violalion ofPublic
?o\icy; Vio!ation ofCal. Labor Codc §§ 226 ct scq.; Violution ofCal. Labor Codc § l l98.$; Gcnder Dixm'iminn!ion in Violalion of 42 U.S.C §§ ZOODc¢Z(a)(l), ct seq.;
Sex\ml}iamssmemll'lostilc Work Envircnmcnt in Viola\ion of42 U.S.C. §§ 2000¢-2(n)(l), cl seq.; Rctnliuticn in Violntion ode U.S.C. §§ 2000c»3(a)', Fail\n'e lo
Provcnx Hamssmcnl, Dism'minaxion, and Rcialialion in Violarion oNZ U.S.C. §§ 2000e-2(n)(l), ct scq.; Violaticn of Equal Pay Acl 29 U.S.C. §§ 206(d){l), ct seq

 

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defendants is responsible in some manner for the occurrences herein alleged, and that Plaintiff’s
injuries as herein alleged were proximately caused by the aforementioned defendants

6. Plaintiti` is informed and believes and thereupon alleges that at all times herein
mentioned, each of the defendants was the agent and employee of each of the remaining
defendants and, in doing the things hereinafter alleged, was acting in the course and scope of
such agency and employment

7. The unlawful employment practices complained of herein occurred in Los
Angeles County, California and other locations Venue is proper in Los Angeles County
pursuant to Government Code § 12965(a).

FAC’I'UAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

8.’ PlaintiH accepted employment with Defendant MOLINA, on or about October 18,
2010. Plaintiii’s initial position was Associate General Counsel, Legal Affairs Department.

9. During her employment at MOLINA, Plaintiti` managed a team of attorneys and
non-attorneys and handled high profile cases. At the time of Plaintiff’s constructive discharge on
or about August 5, 2016, Plaintiii’s title was Vice President/Senior Assistant General Counsel.
Plaintiff was never disciplined or reprimanded for any work issues. d

10. On or about June 16, 2015, in recognition of her efforts on behalf of MOLINA,

Plaintiti` was informed that she was to be promoted and receive a pay raise. On or about June 19,

` 2015, after Plaintiff was informed of her pending promotion, BARLOW became aware that HR

had conducted an exit interview with an employee who had resigned. BARLOW believed that in
that exit interview the resigning employee had complained about BARLOW’s discriminatory

conduct

 

 

 

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Complain! for Damagc for Gcndcr Oiscn’minalion in Violaxion oanl. Gov'l Code § l2940(a); Violntion ol`Calil'omia Equol Pay Act; Sexunl Hamssmentl!»¢ostila
Wo:k Environmem ln Vlolnlion ofCal. Gov'l Code §§ l2940(a) & (j); Relalin!lon in Vioiation oanl. Gov`l Code § l2940(h); Fai|ure to Prcvent Disc:imination,
Rcmliatlon and Hamssuxcn| in Violtuion oanl. Gov’t Code § l2940(k); Violntion oanl. Labor Codc§ l l02.5(b): Conslructivc Discl\argc in Violation ofPublic
Policy, Viclntion oanl. huber Code §§ 226 ct seq.; Violation ofCul. Labor Code § l 198,5; Gcnder Discrimimnion in Violation of 42 U.S.C §§ 2000c~2(a)(l), el scq.;
Scxual Hamssm:xn/Hostile Worh Environmcm in Violalion of 42 U.S.C. §§ 2000e-2(a)(| ), el seq.; Rctalialion in Violation of42 U.S.C. §§ 2000c~3(a); Failune to
Prevenl Htrmssmem, Discriminalion, and Retalialion in Violation of42 U.S.C. §§ 20000-2(:1)(1), el scq.; Violntion ol`Equal Pay Aet 29 U.S,C. §§ 206(Xm ), et scq.

 

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11. BARLOW informed Plaintii`f that he understood that Plaintifi` forwarded a
discrimination complaint against BARLOW arising from the resigning employee’s exit
interview. As a result, BARLOW began a pattern and practice of discrimination and retaliation
against Plaintiff as she participated in the course of her employment. Plaintiff’s employment
duties included performing her job as Legal Advisor to Human Resources (HR), recommending
investigations into complaints submitted to HR, and informing management and HR of illegal
and unethical conduct by MOLINA employees

12. On or about June l9, 2015, HR scheduled a meeting with Plaintiff to discuss the
resigning employee’s exit interview. Prior to Plainnff"s scheduled meeting with HR, BARLOW
telephoned Plaintifi` and berated her regarding the exit interview. Plaintiff reminded BARLOW
that it was MOLINA’s policy to conduct exit interviews When employees resigned. Plaintiff
cancelled her meeting with I-[R to meet with BARLOW to explain company policy regarding exit
interviews, and to determine why he objected to this particular exit interview. In their meeting,
Plaintiff explained to BARLOW that HR had a legal duty to investigate complaints anytime they
were made, and that Plaintiff had no personal involvement in the employee’s exit interview.

13. Acting within the scope of her job duties, Plaintit`f advised HR to investigate the
resigning employee’s discrimination complaint even though BARLOW disagreed With Plaintift’s
recommendation Plaintiff further recommended to HR that an outside investigator/attemey be
retained to conduct an investigation. HR accepted Plaintiff’s recommendations

14. Approximately three weeks after the resigning employee’s exit interview, Plaintiff
learned that BARLOW had expressed to other employees, including management, the false

accusation that Plaintiff filed a complaint about him with HR. Thereat’cer BARLOW blocked

 

 

 

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Complainx liar Damagc for Gcndcr Discn'mina.tion in Violatiun ofCal, Gov'l Code § 12940(a); Violation ofCulifomin Equnl Pay Acl; Sexual Hmssmcnt/Hostilc
ka Envirozunmt in Violmion ofCal. Gov'l Code §§ l2940(u) & (i); Retaliu!ion in Violation ofCal. Gov't Code § 12940(11); Fai|urc to Prevent Discriminatlon,
Rctalia!ion and Harassmmt in Violn!ion o!`Ca!. Gov't Code § l2940(k)‘. Violnlion ol`Cal. Lxxbor Codc§ l l02.$(b); Cons|mctivc Discllarge in Vio|ation ofPublic
Policy; Violation ofCal. Labor Code §§ 226 et seq.‘, Viclation oanl. Lnbor Code § 1198.$; Gendcr Discfimination in Violalicm ode U.S.C §§ ZOOOc-Z(a)(l), ct seq.;
Scxunl Hamssmcm/Hosti!e Work Environmcnt in Vlo|ation of42 U.S.C. §§ 2000c-~2(a){l), c\ scq.; Rcialiation in Viololion of42 U.S.C. §§ 2000¢.~3(a): Failurc to
Prcvcnt Harassmcm, Discriminalion, and Rc!alialiou ln V§olntlon of 42 U.S.C. §§ ZOODb-Z(a)( |). et scq.; Violatlon of Equal Pay Acl 29 U.S.C. §§ 266(d)( l ), cl seq

 

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Plainn`ff’s promotion and she was subjected to severe ongoing retaliatory behavior from
BARLOW.

15. Plaintiff complained to HR once it was clear that BARLOW was blocking her
promotion in retaliation for his false belief that she complained about him.

16. Throughout the summer of 2015 , Plaintiff heard from colleagues that BARLOW
was continuing to make disparaging remarks about her.. On one occasion, BARLOW told an
employee that Plaintiff Was “going off the rails” about the pending discrimination complaint
against him. Plaintiff confronted BARLOW about his interference with, and obstruction of, the
investigation process by his coaching of two employees who were subjects of the ongoing HR
investigation BARLOW stated that HR’s lack of objectivity allowed him to obstruct the d
investigation

17. In or about late August 2015, Dr. Molina, CEO, announced that Jim'NOVELLO
(“NOVELLO”) would move from his health plan operations role at MOLINA into the corporate
Legal Department as Deputy General Counsel, and that he would manage the Legal Department
personnel instead of BARLOW. All Legal Department employees, including Plaintiii`, would
then report to NOVELLO. This development troubled Plaintiff, as previously N¢VELLO had
made unwanted sexual advances toward Plaintiff. Plaintiff was also aware that NOVELLO, who
had worked in MOLINA’s Legal Deparlment in the past, was a close friend with BARLOW.
Plaintiff reported to management and HR that she Was not comfortable working with NOVELLO
because of his unwanted sexual advances toward her in the past,

18. NOVELLO met with Plaintiff shortly after he was reassigned and recommenced

his unwanted sexual advances toward Plaintiff. Plaintiff immediately rejected NOVELLO’s

 

 

 

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Com;xlairu for Damagc for Gcndec Diserimina!ion in Violntion ofCal. Gov't Code § 12940(a); Violaiion ofCalifomia Eqnal Pay Act; $cxual Haxassmcnt/Hosti!e
Work Envimnment ln Viola!ionofCal. Gov'¢ Code §§ 12940(3) & (i); Rcta!iation in Violation ofCal. Gov'l Code § 12940(11); Failun: to Prevent Discrimins!ion,
Rctalialion and Ham§ment in Violalion ofCal. Guv'l Code § 52940(!»;); Violznion ofCal. Labor Codc§ l lGZ.$(b): Cons!ructivc Discharge in Vio|alinn ofPublic
Po|icy', Vio|n!ion oI'Cul. Lubor Code §§ 226 ct scq.; Violation chal. Lobor Code § l l98.5; Gendet Diserixnina!ion in Violan'on 0['42 U.S.C §§ 20004>2(3)(1), ci scq.;
Sexual Hamssmmx/Hostilc Work Environmcnt in Violaxion of 42 U.S.C. §§ 2008¢-2(:1)(\), ct seat Rcta!lution in Violalion ode U.S.C. §§ 2009¢-3(a); Failmc to
Pn:vcnt Hnmssmenx, Dism'minmion, and Reca|iation in Vialmion of 42 U.S.C. §§ 2000¢>~2(::)(\), d seq.; Vx'olation oquuel Pay Act 29 U.S.C. §§ 206(d)(\), d seq.

 

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sexual advances. NOVELLO then informed Plaintiff that he was removing “high-level HR
issues” from her which she had normally handled. Thereafter, NOVELLO and BARLOW
implemented a plan to insulate the Legal Department from HR and other managerial oversight

19. To further the plan to insulate the Legal Department from HR and managerial
oversight, BARLOW sent an email to a select few employees, including Plaintiff, instructing
them to “stand up against John Molina, CFO, (and Dr. Molina’s brother) and Bob Gordon, VP of
HR,” both of whom BARLOW believed were interfering with the Legal Department’s personnel
issues.

20. Plaintiff reported to management and HR that BARLOW had instructed certain
people, includingPlaintiff, to “stand up against John (Molina) and Bob (Gordon)” and demand
that they stop interfering with the Legal Department’s personnel issues.

21. BARLOW and NOVBLLO began to call outside counsel, improperly and
unjustifiany denigrating Plaintiff’s job performance, invretaliation for Plaintiff performing her
job duties. BAKLOW and NOVELLO also made disparaging remarks about Plaintiff in front of
her tearn.

22. In or about mid»November 2015, BARLOW called an “all-hands" meeting of the
Legal Department, during which he informed them that he was very upset about the exit
interview, investigation and discrimination complaint made against him the previous summer.
BARLOW then instructed the group that they should not go to HR with any problem, but instead
go to either NOVELLO or him. Plainti&’s subordinates reported BARLOW’s instruction to HR,
and Plaintiti` corroborated those facts to HR. HR did not investigate, but instead accepted

BARLOW’s denial that he made those comments.

 

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Complaiul for Damage for Gendcr Disc:iminalion in Violaticn oI'Ca!. Gov't Code § 12940(a); Vio|n!ion ofCalil`omia Equal Pay Act; Scxual Harassmem/Hosxi|c
Work Envimnment in Vio!axiun ofCal. Gov'l Code §§ 52940(11) & (i); Rcta!iulion in Viola!ion ofCal. Gov't Code § l2940(h): Foilure to Prevcnt Discrimination,
Rctalia!ion and Hamsmcnt in Violation chnl. Gov'l Code § 12940(1;); Violaxion ofCa]. Labor Code§ lloZ.$(b)'. Conslructiv¢ Dischargc in Violation of Pub|ic
Po|icy; Violnxion ofCa!. Lnbor Code §§ 226 ct scq.', Vio|ation ofCa!. Labor Code § l 198.5; Gender Disc¢'iminatt`on in Violaxion oNZ U,S.C §§ 2000e»2(a)(l), d seq.;
Scxual ch.ssmcnt/Hosxi|c Work Envimnmml in Viola!ion of 42 U.S.C. §§ ZWOe-Z(o)(l), ct scq.; Rcln!iation in Vio|ation 0¥42 U.S.C. §§ 2000e.3(a); Failurc lo
vacnt Hamssmcnl, Discrimination, and Rclaliallon in Violn!ion of 42 U.S.C. §§ ZODOc-Z(a)(l), ct seq.; Violaxion oquual Pay Act 29 U.S.C. §§ 206(¢!)(1), ct seq.

 

 

 

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23. Soon after the “all hands” meeting, NOVELLO and Plaintitf had a meeting in
which NOVELLO unjustifiany criticized much of Plaintifi’s work performance Plaintiff told
NOVELLO that she did not appreciate his and BARLOW’s disparaging remarks about her in
front of her team, that NOVELLO Was dismissive of her team, that she did not understand why
he and BARLOW went behind her back and spoke with outside counsel about her job
performance, and their habit of humiliating her. Plaintiff also told NOVELLO that BARLOW’$
“all hands” meeting and instruction not to go to HR to discuss problems, and their continued
public disparagement and humiliation of Plaintiff were direct retaliation against her because of
the previous advice Plaintiff had provided to HR, as part and parcel of her job duties.

24. Subsequently, Plaintiff pointed out to BARLOW and NOVELLO that two male
employees, less qualified than Plaintiff, were promoted without ever having managed any person
or process, despite her promotion being blocked. Plaintiii` also informed HR of this conversation
with BARLOW and NOVELLO.

25. Each member of Plaintist attorney and non-attorney team was female. Plaintiif
and her female team members were treated in a disparate manner, including but not limited to
being excluded from group functions and activities, subjected to inappropriate gender related
comments, denied promotions, and being paid less than male counterparts Plaintiff reported this
disparate treatment to management and HR.

26. NOVELLO had been untruthful in conducting certain company business,
misrepresented material facts and issues, and misrepresented management’s wishes regarding

case handling Plaintiff reported this to management and HR.

 

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Comp!sim for Damane for Gcndcr Discrimination in Vio\ntion ofCal. Gov't Code § \2940(u); Vio!ation ofCa|it`omia Equn| Pay Acl; Scxua! timeanch
Work Enviwomcul tn Vio!a!ion ofCal. Gov'¢ Code §§ 1294U{a) & (j); Rctn|iaxion in Violation ofCal. Gov't Code § 12940(!)); Fnilurc to Prcvcnt Discriminatlon,
Rctalltuion and Hmascmcm in Vx'o|a!ion ofCal. Gov'! Code § 129400¢)'. Vlolalion ofCa!. Lnbar Cod.c§ l |02.5(b); Ccnsmxctivc Discharge in Viclation of?ublic
?oliey; Violn!iou ofCa!. labor Code §§ 226 et seq.; Violnzion ofCal. L:xbor Code § l t98.$; Gcnder Discn'minntian in Violalion of42 U.S.C §§ 2000c-2(a)(l), et seq.;
Scxual Humssmmt/Hostl!c Wnrk Envimnmcm in Vic|ation of42 U.S.C. §§2000¢~2(:1)(\),¢¢ scq,; Rcwlixnlon in Violation of 42 U.S.C. §§ 2000<:»3(11): Failurc to
Prevcul Hmussmcru, Discdmlnaxinn, and Rcla\iation in Violnlicn ode U.S.C. §§ 2000ev2(a)(l ), ct scq.; Violntion oquua\ Pay Act 29 U.S.C. §§ 206(d)(l ), ct seq.

 

 

 

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27. in or about January 2016, Bob Gordon informed Plaintiff that she would receive
the promotion that BARLOW had blocked. The retaliatory conduct of BARLOW and
NOVELLO against Plaintift` continued unabated.

28. On or about March 4 and 5, 2016, the Legal Department scheduled a retreat.
Prior to the retreat, Plaintift` again expressed her concerns to HR and other supervisors and
management about being in close proximity to NOVELLO given his history of sexual
harassment of her. Throughout the retreat in South Lake Tahoe, NOVELLO made numerous and
continual unwanted and aggressive sexual advances and physical threats toward Plaintiff, all of
which she rejected and rebuffed. NOVELLO’s conduct put Plaintiff in imminent fear of being
sexually assaulted.

y 29. Plaintiff recounted, in detail, NOVELLO’s ongoing harassment at Lake 'I`ahoe to
management, including HR. Upon HR’s recommendation, Plaintiff then filed a formal
complaint against NOVELLO with HR, prompting an investigation After the retreat,
NOVELLO continued to stalk Plaintiff. Plaintiff tried to avoid NOVELLO by working from
home or working from another building. Another employee told Plaintiff that NOVELLO was
“looking for her a lot and red in the face” at learning that Plaintiff was not present

30. When Plaintiff and NOVELLO did meet briefly, he aggressiver confronted
Plaintiff about the pending HR investigation

31. After the retreat, Dr. Molina called Plaintiff and told her BARLOW was the
General Counsel and had complete control over the Legal Department. Plaintiff informed Dr.
Molina in this call and other conversations that BARLOW displayed a lack of knowledge

regardingemployment law matters and failed to maintain confidentiality Dr. Molina also

 

 

 

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Complain! for Damuge for Gcndcr Discrimination in Violn,xion ofCol. Gov't Code § l1940(a); Viola\ion ofCuli!`omia Equal Pay Act; Scxua! Hn.rassmcm/Hos!i|c
Woric Environnml in Violatioo ofCo\. Gov'! Code §§ l1940(a) & (j); Rclalialion lx\ Viola!ion ofCa|. Gov'i Code § \2940(h); Fm`\lm: to prevent Discriminmion,
Rciaiialion and Humssmen! in Vio|alion oanl. Gov't Code § 12940{k): Violation ofCa|. Labor Codc§ l|02.5(b); Construdivc Discharge in Vio|a!ion ofPublic
Policy; Viola!ion ofCal. labor Code §§ 226 cl seq.; Vio|n!ion of Cal. Labor Code § l 198.$; Gender Discriminalion in V:'o!alion of42 U.S.C §§ 2000c~2(qu). ct soq.;
Scxua\ Hnrossmcnt/Host\\c Work Environmcnt in Violnlion of 42 U.S.C. §§ 2000e--2(a)(|), cl scq,; Retalia!ion in Violation of 42 U.S.C. §§ 2000e-3(a); Failum to
Pn:vcm Ha:assmcnl, Di`sm'imination, and Remlintion in Viola!ion of 42 U.S.C. §§ ZOGUc-Z(a)(\), ct scq.; Vio!ntion oquual Pay Acl 29 U,S.C. §§ 206(d)(|), ct scq.

 

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informed Plaintiff that he knew about a complaint against NOVELLO, and he told BARLOW
about it. Plaintiff told him that she was the complainant I-le laughed and said, “Oh shit.”
Plaintiff immediately terminated her conversation with Dr. Molina and called HR to report that
conversation.

32. PlaintiH` informed BARLOW that she had made a sexual harassment complaint
against N()VELLO`. MOLINA hired outside counsel to investigate Plaintiff’s complaint and
hired a second law firm to provide advice and recommendations regarding the concluded
investigation This communication and series of events only served to increase NOVELLO_’s
and BARLOW’s ongoing retaliation against Plaintiff.

33. In late April or early May 2016, CFO John Molina told Plaintiff that the
investigation into Plaintiff’s complaint against NOVELLO for sexual harassment had concluded
and the investigator found her to be credible. `

34. Thereafcer, Plaintiff had dinner with John Molina in Philadelphia and confided in
him that she was stressed because NOVELLO still worked at the company, despite the
investigation findings, she still feared him, and she did not believe that NOVELLO and
BARLOW would stop their retaliatory campaign against her. John Molina told Plaintiff that she
should give it a few more months.

35. Subsequently, Plaintiff met with HR to express her continuing concerns about
NOVELLO and BARLOW. Plaintiff was still in fear of NOVELLO based on her ongoing
personal exposure to his presence. Plaintiff also reported to HR that she was concerned about
working with BARLOW given BARLOW’s close friendship with NOVELLO, and NOVELLO’s

and BARLOW’s ongoing retaliatory conduct toward Plaintiff. HR reported this to Dr. Molina,

 

 

 

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who called to discuss these issues with Plaintiff. Plaintiff explained to Dr. Molina, in detail, her
fears and concerns with regard to NOVELLO and BARLOW.

36. in or about June 2016, Plaintiff was informed that NOVELLO was resigning and
that she would then report to Ron Kurtz (“KURTZ”), a less qualified and less experienced male
colleague, who was being promoted over Plaintiff to the vacant position NOVELLO had
occupied, despite BARLOW’s prior representation to Plaintiff that she would receive this
promotion,

37. On the same day, BARLOW sent out an email explaining NOVELLO’s
departure The email indicated that NOVELLO’s departure was voluntary, that NOVELLO
would still work with MOLINA from his new position at a “boutique” law firm, and that
BARLOW regretted NOVELLO’s departure No reference was made to NOVELLO’s
misconduct towards Plaintiii`. l

38. Plaintiff sent an email to Dr. Molina, copy to BARLOW, expressing her concerns
that she was demoted by being required to report to KURTZ, and that BARLOW misrepresented
the reasons why NOVELLO left MOLINA. Plaintiff also voiced her concerns regarding
BARLOW’s documented history of retaliating against her for engaging inn protected activity.`
Plaintiff further reported to management, HR, and BARLOW that BARLOW’s actions towards
her after NOVELLO’s resignation were retaliatory and were causing her a great deal of stress.
Defendant did not investigate Plaintiti"s allegations and took no action to remedy this ongoing
retaliation and discrimination, and instead promoted KURTZ.

39. Until her constructive discharge on or about August 5, 2016, Plaintiff was

repeatedly subjected to BARLOW’s ongoing acts of retaliation, discrimination, and harassment

 

 

 

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until she concluded that she had no reasonable choice but to leave the company. Also during this
time period, KURTZ and BARLOW made continuing and ongoing discriminatory comments
about Plaintiff and the other females on her team.

40. MOLINA failed to undertake and conduct an appropriate investigation into each
complaint made by Plaintiff.

41. On or about August 5, 2016, Plaintiff resigned her employment based on
Defendant’s constructive discharge and wrongful termination

42. On or about August 10, 2016, Plaintiff requested copies of her personnel tile,
hiring documents, investigative files referencing or relating to her in any way, write ups,
performance evaluations, and payroll, benefits and other compensation records. A copy of that
written request is attached hereto as Exhibit l.

43. Defendant failed to timely and fully comply with Plaintiff’s request

44. Plaintiff timely filed a charge of discrimination with the California Department of
Fair Employment and Housing (DFEH).

45. On or about August lO, 2016 the DFEH issued to Plaintiff a Right to Sue letter. A
copy of the Right to Sue letter is attached hereto as Exhibit 2.

46. Plaintitf timely filed a charge of discrimination with the Equal Opportunity
Employment Commission (EEOC) as required by 42 U.S.C. 2000e-5.

47 . On or about October 19, 2016 the EEOC issued to Plaintitf a Right to Sue letter.

A copy of the Right to Sue letter is attached hereto as Exhibit 3.

 

 

 

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FIRST CAUSE OF AC'I`ION

 

Gender Discrimination in Violation of Cal. Gov’t Code § 12940(3)

48. Plaintiff realleges paragraphs 1 through 47 as though fully set forth herein.

49. At all times herein mentioned, California’s Fair Employment and Housing Act
(“FEHA”), Cal. Gov’t Code §§ 12940 et seq., was in nill force and effect and fully binding upon
Defendant. Plaintiff was a member of a group protected by the statute, in particular § 12940(a),
prohibiting discrimination in employment based on gender. Defendant MOLINA subjected
Plaintiff to adverse employment actions, including unequal pay, hostile work environment,
failure to promote, wrongful demotion, and constructive discharge

50. Plaintiff was a member of a group protected by the statute, in particular
§ l2940(a), prohibiting discrimination in employment based on gender.

51. The gender of Plaintiff was a substantial motivating reason for the adverse
employment actions MOLINA took against Plaintiff. The failure to provide equal pay, prevent a
hostile work environment, failure to promote, disparate treatment of female employees, wrongful
demotion, and constructive discharge of Plaintitf by Defendant MOLINA constituted
discrimination based on gender and violated Government Code § 12940(a).

52. As a direct, foreseeable and proximate result of Defendant’s unlawful actions,
Plaintiff has suffered and continues to suffer substantial past and future losses in earnings, equity
and other employment beneiits and has incurred other economic losses.

53. As a further direct, foreseeable and proximate result of Defendant’s unlawful
actions, Plaintiff has suffered emotional distress, humiliation, shame, and embarrassment all to

PlairitiH’s damage in an amount to be proven at time of tn'al.

 

 

 

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Policy; Viola!ion chnl. labor Code §§ 226 ci scq.', Violaiiori oanl. Lnbor Code § 1198.5; chdcr Discriminniicn in Violnn'on of42 U.S.C §§ ZODOc-Z(n)(l). ct seq.;
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Prevcnt Harassmenl. Discrimlnmion, and Remliation in Violaiicn of42 U.S.C. §§ 2000e-Ha)(|), cl seq.; Vio\ation oquual Pny Act 29 U.S.C. §§ 206(5)(\). d$¢q-

 

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54. Defendant committed the acts herein despicably, maliciously, fraudulently, and
oppressively, with the wrongful intention of injuring Plaintiff, from an improper and evil motive
amounting to malice, and in conscious disregard of the rights of Plaintiff. PlaintiH` is thus entitled

to recover punitive damages from the Defendant in an amount according to proof.

SECOND CAUSE OF ACTION
Violation of California Equal Pay Act

55. Plaintiff realleges paragraphs 1 through 54 as though fully set forth herein.

56. At all times herein, Plaintiff did not receive equal pay for equal Work done by
similarly situated individuals in the employ of Defendant, in violation of the California Equal
Pay Act, Labor Code § 1197.5 et seq. Plaintiff’s rate of pay was less than the rates paid to
employees of the opposite sex in the same establishment for equal work o'n jobs the performance
of which required equal skill, effort, and responsibility, and which were performed under similar
working conditions

57. At all times herein, males in the litigation department received superior titles and
commensurate compensation, despite the fact that Plaintiff and other females did the same work.
Further, male employees were promoted over female employees who had similar or superior
qualifications and were doing similar work.

58. As a proximate result of Defendant’s discriminatory actions against Plaintiff,
Plaintiff has been banned in that she has suffered past and future loss of wages, salary, equity,

and other benefits in an amount to be proven at the time of trial.

 

 

 

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policy; Violation of Csl. Labor Code §§ 226 ct scq.; Violution oanl. labor Code § 1198,5; Gcndcr Discrimination in Violntion 11de U.S.C §§ 2000¢-2(9)(|), ct seq.;
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59. As a further proximate result of Defendant’s discriminatory actions against
Plaintift`, Plaintiff has been hanned in that Plaintiff has suffered humiliation, mental anguish, and
emotional and physical distress in an amount to be proven at the time of trial.

THIRD CAUSE OF ACTION
Sexual Harassment /Hostile Work Environment in Violation of Cal. Gov’t Code

§§ 12940(a) & (j)

60. Plaintitf hereby incorporates by reference Paragraphs 1 through 59 of this
Complaint as if fully set forth herein, and for a cause of action alleges as follows:

61. At all times herein mentioned, Califomia’s Fair Employment and Housing Act
(“FEHA”), Cal. Gov’t Code §§ 12900, et seq., Was in full force and effect and was hilly binding
upon Defendants. Specitically, § 12940(])(1) prohibits an employer from sexually harassing an
employee and allowing a hostile work environment The actions of NOVELLO, BARLOW, and
KURTZ towards Plaintiff, their subordinate, as described herein, constituted sexual harassment
and created a hostile work environment which materially altered Plaintiff’ s working conditions
and which constituted sexual harassment in violation of Gov’t Code § 12940(§)(1).

62. The actions of Defendant and BARLOW, as described herein, ratified
NOVELLO’s and KURTZ’ misconduct, and created a hostile work environment, in violation of
Gov’t Code § 12940@)(1).

63. The misconduct of NOVELLO, BARLOW, KURTZ and Defendant was
pervasive, severe, continuous and systematic, and created a work environment that was
objectively and subjectively offensive, hostile, intimidating, and abusive. A reasonable person in
Plaintiti’ s position would have believed the conduct to he extremely offensive, hostile,
intimidating, and abusive. Plaintiti` found the work environment to be extremely offensive,
hostile, intimidating and abusive such that the character of her work environment was

substantially altered.

 

 

 

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Retaliation and Hmassmcnt in Violaricn ofCal. Gov‘i Code § 12940(1<); Violaiioii of Cul. labor Code§ l lOl.S(b); Conslrui:iive Dischargc in Violatian of Public
Policy, Vioknion ofCal. labor Code §§ 226 ct seq.; Violation ofCal. Lahor Codc§ ll98.5; Gcnder Discriuiinaiion in Vio|nlion of42 U.S.C §§ 2000e-2(o)(l), ct seq.;
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Prevcni Harassmem, Discrimination, and Rctaliaiicn in Violalion of42 U.S.C. §§ 2000e-2(a)(l), et seq.; Violation oquiml pay Act 29 U.S.C. §§ 206(d)(|), d seq,

 

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64. Plaintiff repeatedly reported the ongoing misconduct to MOLINA’s Human
Resource Department and management as required by company protocol. Defendant MOLINA
failed to address and resolve the issues in a prompt and effective manner. As a result, Plaintiff
remained in close physical proximity and exposure to Nt)VELLO, and experienced ongoing
anxiety and fear for her safety.

65 . As a direct, foreseeable and proximate result of Defendant’s unlawful actions,
Plaintiff has suffered economic damages including past hand future lost wages, equity, benefits

and other compensation
66. As a direct, foreseeable, and proximate result of Defendant’s unlawful actions,

Plaintiff has suffered emotional distress, humiliation, shame, and embarrassment, all to
Plaintiff’s damage in an amount to be proven at the time of trial.

67. Defendant committed the acts herein despicably, maliciously, fraudulently, and
oppressively, with the wrongful intention of injuring Plaintiff, from an improper and evil motive
amounting to malice, and in conscious disregard of the rights or safety of Plaintiff. Plaintiff is
thus entitled to recover punitive damages from Defendant in an amount according to proof.

FOURTH CAUSE OF AC’I`ION
Retaliation in Violation of Cal. Gov’t Code § 12940(11)

68. Plaintiff hereby incorporates by reference Paragraphs l through 67 of this
Complaint as if fully set forth herein. n

69. At all times herein mentioned, California’s Fair Employment and Housing Act
(“FEHA”), Cal. Gov’t Code §§ 12900, et seq., Was in full force and effect and was fully binding
upon Defendant. Speciflcally, § 12940(h) makes it an unlawful employment practice for an
employer to discriminate against any person because the person has opposed any practices
forbidden under this part, or because the person has filed a complaint, testified, or assisted in any

proceeding under this part.

 

 

 

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Retnlhuionand Harassment in Violalion ofCal. Gov't Code § 12940(|¢); Vio!axion of'Cal. Labor Code§ ll02.5{b); Conslmc£ivc Di.sclm‘gc in Violation oi'Public
Policy‘, Violation of Csl. Labor Code §§ 226 et seq.', Vio!a!ion ofCal. Lnbot Code § l 198.5; Gcm!cr Discriminnlion in Violation of 42 U.S.C §§ 2000c~2(a)(l), ct soq.;
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activities

Until her constructive discharge, Plaintiff engaged in numerous protected
'I`hese activities included, but were not limited to, the following:
Plaintitf advised HR to investigate employee’s discrimination complaints even if
BARLOW disagreed;
Plaintiff complained to HR that BARLOW was wrongfully blocking her promotion;
Plaintiff confronted BARLOW about his interference with and obstruction of the HR
investigation;
Plaintiff expressed to management and HR that she was not comfortable working
with NOVELLO who had sexually harassed her in the past;
Plaintiff complained to BARLOW, management, and HR that NOVELLO removed
high-level HR issues from hei",
Plaintiff reported to management and HR, that BARLOW had tried to insulate the
Legal Department from HR supervision;
Plaintiff reported to management and HR BARLOW’s instruction to eliminate HR
and instead address all personnel problems with him or NOVELLO;
Plaintiff informed NOVELLO that BARLOW’s “all hands” meeting and instruction
not to go to HR to discuss problems was a direct retaliation against her because she,
as part of her job, advised HR regarding discrimination complaints;
Plaintiff reported to HR that two male employees had been promoted without having
ever managed anyone or any process and were less qualified than her;
Prior to the March 4"’ retreat, the Plaintiff expressed her ongoing concerns to HR and
management about being in close proximity to NOVELLO;
At’ter the retreat, Plaintiff reported the serious sexual misconduct ofNOVELLO to
HR;
Plaintiff filed a formal complaint against NOVELLO with HR, prompting an

investigation;

 

 

 

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Reta!izrxion and Hamssmcnt in Violation ofCal. Gov’t Code§ 12940(k); Vio!ation ofCaL Labcr Codc§ l |02.5(!)); Constnxctivc Discharge in Viclation ofPublic
Policy, Vio!stion ofCal. Labor Code §§ 226 ct seq.; Violntion ofCal. laborCodc § l 198.5; Gendcr Discrimirm!ion in Violatiou of'42 U.S.C §§ 2000e-2(a)(l), ct seq.;
Smml Hmassmem/Hostilc Work Euvironmcnl in Violution of42 U.S.C. §§ 2000e-2(a)(l ), ct seq.; Rcm!ia¢lon in Violation of42 U.S.C. §§ 2000<.~3(11): Failune to
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m. Plaintitf reported to management that BARLOW displayed a lack of knowledge
regarding employment law matters;

n. Plaintiff reported to management that BARLOW repeatedly failed to maintain
confidential infonnation;

o. Plaintiff reported to management that NOVELLO had made misrepresentations about
material facts and issues, and also mispresented management’s wishes regarding case
handling '

p. Plaintiff reported to management that BARLOW repeatedly disparaged members of
management to other employees;

q. Plaintiff reported to HR that NOVELLO’s, BARLOW’s and KURTZ’ conduct
toward Plaintiff and other female employees was negatively impacting MOLINA;

r. _Plaintiff reported her conversation with Dr. Molina to HR regarding her complaint
against NOVELLO;

s. Plaintiff reported to BARLOW that she had made a complaint against NOVELLO;

t. Plaintiff met with HR to express her serious concerns about the results of the
investigation into her complaint against NOVELLO;

u. Plaintiff was especially concerned about working with and for BARLOW and
reported these concerns to HR; `

v. Plaintifi` reported to management that BARLOW, NOVELLO and KUR'I`Z had
harassed and discriminated against her and other female employees, and retaliated
against her.

w. Plaintiff reported to management, HR, and BARLOW that BARLOW’s actions
towards her after NOVELLO’s termination were retaliatory and causing her a great
deal of stress.

7l. Defendant responded to Plaintiff’s protected activity by retaliating against her.

But for Plaintitf engaging in protected activities as alleged herein, Defendant’would not have

retaliated against her.

 

 

 

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Complaint for Damagc for Gender Discriminalion in Violation ofCal. Gov't Code § 12940(a); Viohuion ofCalil'omia Equal Pay Act; Sex\m! anassmcnt/Hostile
Work Envimnmecu in Violation ofCal. Gov'l Code §§ 12940(a) & (j); Rctnlintion in Viola,!ion ofCal. Gov't Code § 12940(h)‘, Faz`luuc to Prevcm Discrimlna!ion,
Retaliation and Hamssmem in Vicla!ion ofCal. Gov’l Code § 12940(k); Viola\ion ofCal. Labor Codc§ l102.5{b); Conslmclive Dischaq;e in Violaxlcn ofPublic
Policy; Violation oi'Cal. L,abor Code §§ 226 ct scq.; Violalion ofCal. Labor Code § l 198.5; G¢ndcr Discrimination in Violation of42 U.S.C §§ 2000@2(aXl), ct seq.;
Scxual Haxassmcm/Hosxile Work Environmenr in Vio!arion of42 U.S.C. §§ ZOOOc-Z(a)( t), ct seq.; Rclalimlou in Vio!mioa of 42 U.S.C. §§ 2000e-3(a); Failurc lo
Prevcnt Hamssmcnt, Discriminalion, and Rclaiialion in Violmien of42 U.S.C. §§ 2000¢~2(::)(|), cl seq.; Violation ol'Equal Pay Acl 29 U.S,C. §§ 206(d)(l), cl seq.

 

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72. Defendant retaliated in the following ways, among others:

a. BARLOW falsely accused Plaintiif of making a_cornplaint against him to HR;

b. BARLOW blocked Plaintiff ‘s promotion;

c. BARLOW continually made disparaging remarks about Plaintiff to her coworkers
and outside counsel;

d. “High-level HR issues” were removed from Plaintiff, preventing her from doing her
jOb;

e. Plaintiff received undo and unfounded criticism of her work performance by
NOVELLO;

f. BARLOW instructed employees not to consult with HR regarding employment
issues, preventing Plaintiff from performing her advisory role;

g. BARLOW issued a false account of why NovELLo lea MoLINA;

h. A male, who was less qualified than Plaintiff, was promoted to NOVELLO’s vacant
position;

i. MOLINA violated its own policies and procedures by not investigating Plaintiff’s
complaints; l

j . MOLINA required that Plaintiff report to BARLOW, who had consistently
demonstrated discriminatory and retaliatory conduct toward Plaintiff;

k. MOLINA interfered with the reporting of subordinates to Plaintiff, usurping her
authority, and rendering it much more difficult for her to do her job.

73. Plaintiff engaging in the enumerated protected activities was a substantial

motivating factor in the Defendant’s retaliation against her.
74. Despite Defendant MOLINA’s constructive and actual knowledge of the above»
mentioned retaliation, Defendant failed to investigate the circumstances regarding the retaliation `

and failed to take immediate and appropriate corrective action to stop the retaliation,

 

 

 

18
Complaim for Dzmnge for chdcr Discn`minaxion in Violaxion ofCal. Gov’l Code § 12940(5)‘, Viola!ion ofCalifomia Equal Pay Act; Scxual Harassment/Hostile
Wofk Environmml in Viola!icn ofCal. Gov`t Cod= §§ 12949(8) & O); Rda!iation in Violation ofCal. Gov'l Code § l2940(h); Failurc to Pn:vcnt Discrimination,
Rctnliation and Harassmmt in Vio!a!ion oi'Cal. Gov't Code § 12940(1:); Violation ofCal. l.abor Codc§ l 102.5(1)); Ccnstructivc Discha.rge in Vio!axion cfPublic
Policy, Violation ofCal. l.ai>or Code §§ 226 et seq.; Viola\icn ofCal. Labor Code § l |98.5; Gendcr Disuiminalion in Viokuion of 42 U.S.C §§ ZOOGc-Z(a)(l), ct scq.;
Scxual Ha:assmmt/Hostilc Work Environmcm in Violation oNZ U.S.C. §§ ZOOOc-Z(a)(l), el scq.; Rctalia!ion in Vio!axion of42 U.S.C. §§ 2000e-3(u); Fox`lme to
prevent Harassmcm, Diseriminution, and Rctaliallcn in Violult'on 0f42 U.S.C. §§ 2000e-2(a)( l). cl S¢Q.; Violatl'on oquual Pay Act 29 U.S.C. §§ 206(d)(l], ct scq.

 

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75. The Defendant’s retaliation resulted in adverse employment actions against the
Plaintift`, including demotion, preventing her from doing her job, harassment and retaliation,

resulting in her constructive discharge
76. The retaliation of the Defendant Was a substantial factor in causing harm to

Plaintiff.

77. As a direct, foreseeable and proximate result of Defendant’s unlawful actions,
PlaintiH` has suffered and continues to suffer losses in past and future earnings, equity and other
employment benefits and has incurred other economic losses.

78. As a direct, foreseeable, and proximate result of Defendant’s unlawful actions,
Plaintiff has suffered substantial emotional distress, humiliation, shame, and embarrassment all
to Plaintiff’s damage in an amount to be proven at the time of trial.

79. Defendant committed the acts herein despicably, maliciously, fraudulently, and
oppressively, with the wrongful intention of injuring Plaintiff, from an improper and evil motive
amounting to malice, and in conscious disregard of the rights and safety of Plaintiff and others.
Plaintiff is thus entitled to recover punitive damages from Defendant in an amount according to

proof.

FlFTH CAUSE OF ACTION
Failure to Prevent Discrimination, Retaliation and Harassment in Violation of Cal.
Gov’t Code § 12940(k)

80. Plaintiff hereby incorporates by reference Paragraphs l through 79 of this
Complaint as if fully set forth herein.

81. At all times herein mentioned, Califomia’s Fair Employment and Housing Act
(“FEHA”), Cal. Gov’t Code §§ 12900, et sed., Was in full force and effect and was fully binding
upon Defendant. Specifically, § 12940(k) makes it an unlawful employment practice for an

 

19
Comp!nixu for Damag¢ for Gcndcr Discximinalion in Violalion ofCal. Gov’l Code § 12940(n); Violalion ofCalifomia Equal Puy Acl; Sexual Harassmcmlliosiile
Work Environmcni in Violation o{Cal. Gov'l Code §§ l2940(a) & (i); Reta.!imion in Violax€cn of Cnl. Gov'l Code § 12940{h); Failun: to prevent Diserimina\iou,
Retaliation and timmreck in Vio!alion ofCal. Gov'\ Code § 129400¢); Violaiion of Cai. tabor Codc§ l lOZJ(b); Constmciivc Dischaxge in Violaxion ofPublic
Po|icy; Vio!aiinn ofCal. Labor Code §§ 226 et seq.; Viola!ion ofCal. Labor Code § l 198.5; Gcndcr Discn'mination in Violuxion of 42 U.S.C §§ ZODOc-Z(a)(l), et seq.;
Sexua! Harasmenxl}~lostdc Woxk Enviromncnl in Vio!alion of 42 U.S.C. §§ 2008¢-2(3)( l),cl seq.; Rctsliation in Viola!ion of42 U,S.C. §§ 2000¢-3(a); Failum lo
Fczvcnx Hamssmmt. Diseriminalion, and Rctalintion in Vio!a!ion of 42 U.S.C. §§ 2000e-2(a)(| ), ct seq.; Vio!ation of Equal Pay Act 29 U.S.C. §§ 205(d)(l), cl seq.

 

 

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employer to fail to take all reasonable steps necessary to prevent retaliation, discrimination, and
harassment from occurring

82. Defendant MOLINA was at all times on actual notice of NOVELLO’s propensity
to sexually harass Plaintiif, yet failed to take appropriate action or prevent its recurrence In
violation of its own policies and procedures, Defendant failed to adequately investigate
Plaintiifs allegations regarding NOVELLO’s misconduct and failed to take all reasonable steps
to prevent him from continuing to harass Plaintiff. Defendant failed to take all reasonable steps
necessary to prevent harassment from occurring in violation of § 12940(k).

83. Defendant MOLINA Was at all times herein on actual notice of retaliatory,
discriminatory, and harassing actions committed by BARLOW, NOVELLO, and KURTZ
against Plaintiff, yet failed to take any action. Defendant failed to adequately investigate
Plaintii`f's allegations regarding BARLOW’s, NOVELLO’s and KURTZ’ misconduct and failed
to take all reasonable steps to prevent them from retaliating against, discriminating against, and
harassing Plaintiff. Defendant failed to take all reasonable steps necessary to prevent
harassment, discrimination, and retaliation from occurring in violation of § 12940(k).

84. As a direct, foreseeable and proximate result of Defendant’s unlawful actions,
Plaintiff has suffered and continues to suffer losses in past and future earnings, equity and other
employment benefits, and has incurred other economic losses.

85. As a direct, foreseeable, and proximate result of Defendant’s unlawful actions,
Plaintiff has suffered substantial emotional distress, humiliation, shame, and embarrassment, all
to Plaintif.f’s damages in an amount to be proven at the time of trial.

86. Defendant committed the acts herein despicably, maliciously, fraudulently, and
oppressively, with the wrongful intention of injuring Plaintiff, from an improper and evil motive
amounting to malice, and in conscious disregard of the rights and safety of Plaintiff and others.
Plaintitf is thus entitled to recover punitive damages from Defendant in an amount according to

proof.

 

 

 

20
Complaint for Damage for Gcndcr Dism"iminalion in Violalion ofCa|. Gov’.t Code § 12940(a); Vio!ation oi'Califomia Bqual Pay Act; Sexual Harmsmen!/Hosti|c
Work Envimnmuu ln Viowlon oani. Gov‘t Code §§ 12940(n) & (i); Rctaliiulon in Violaiion ofCal. Gov't Code § 12940(h); Failun: to Prevent Diseriminatiou,'
Rera!ialion and Haxassmcm in Viola!ion ofCal. Gov'l Code § 12940(k); Viola!ion ol'Cal. Labor Code§ l l02.5(b)'. Consxmciivc Discharge in Violun'nn ofPublic
Policy; Viola!ion ofCal. Labor Code §§ 226 et seq.; Violalion ofCal, Lnbor Code § l 198.5', Gcndcr Discriminmion in Violalion of42 U.S.C §§ 2000&2(¢\)(|), cl seq.;
Scxuai Haxassmem/Hostile Work Enviwnmcm in Viola!ion of42 U.S.C. §§ 2000`>-2(:1)(|), ct scq.; Retnliation ln Vio!ation ode U.S.C. §§ 2000c-3(o); Faiiure tc
Pwvuu Haxassmcnl, Discriminallon. and Rcla!iaiion in Vlolatlon of 42 U.S.C. §§ 2000e-2(a)(l), cl scq.; Violation oquual pay Aet 29 U,S.C. §§ 20616)(|), d mq.

 

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SIXTH CAUSE OF AC’I`ION
Violation of Cal. Labor Code § v1102.5(b)

87. Plaintiff realleges paragraphs 1 through 86 as though fully set forth herein,

88. Cal. Labor Code § l 102.5(b) mandates that an employer, or any person acting on
behalf of the employer, shall not retaliate against an employee for disclosing information to a
person with authority over the employee or another employee who has the authority to
investigate, discover, or correct the violation or noncompliance, if the employee has reasonable
cause to believe that the information discloses a violation of state or federal statute, or a violation
of or noncompliance with a local, state, or federal rule or regulation, regardless of whether
disclosing the information is part of the employee’s job duties.

89. Plaintiff disclosed to management that BARLOW failed to maintain confidential
information regarding which he was legally obligated to keep contidential. The conduct of
BARLOW in failing to maintain confidentiality violated Cal. Business and Professions Code §
6106, as well as the common-law rule requiring an attorney to observe coniidences.

90. Plaintiff disclosed to management that NOVELLO had been untruthful in
conducting certain company business, misrepresented material facts and issues, and
misrepresented management’s wishes regarding case handling The conduct of NOVELLO
violated Cal. Business and Professions Code § 6106, as well as the common~law rule requiring
an attorney to be truthful in his role as advocate.

91. Plaintiff reported to management that BARLOW, NOVELLO and KURTZ had
wrongfully harassed, discriminated, and retaliated against Plaintiff. Plaintiff also reported to
management the systematic disparate treatment of women.

92. Management had the authority to investigate, discover, or correct the violations or
noncompliance by BARLOW, NOVELLO, and KURTZ. Prior to Plaintiff’ s disclosure,
management was unaware of the misconduct of BARLOW, NOVELLO, and KURTZ.

93. 'l`he reporting of BARLOW’s, NOVELLO’s and KURTZ’ misconduct was a

substantial factor in the retaliation against and constructive discharge of the Plaintiff.

 

21
Complairu for Damage for Gcndcr Discriminalion in Viola!ion oanl. Gov’i Code § 12940(n); Violaxion ofCalifomia Equul Pay Act; Scx\ml Harassmcntltiosti|c
Work Environmcm ln Vlolation oanl. Gov'l Code §§ 12940(n) & (i); Retallalion in Viotxnion oI`Cnl. Gov‘i Code § 12940(1\)~. Fnilme m Prevcni Diseriminaiion,
Rctnliatlon and Harassmenl in Vio!ntion ofCai. Gov‘t Ccde§ 12940(k); Violnlion of Cal. chor Code§ l lOZ.$(b); Constmctive Discharge in Violzx\icn ofPublic
Policy; Vio!a!icu ofCal. chor Code §§ 226 et seq.; Violation ot'Cnl. Lnbor Code § l 198,5; Gcndcr Discriminction in Violznlon of42 U.S.C §§ 2000c~2(a)(l), ct scq.;
Scxua| Hnmssment/Hostilc Woxk Envimnmcnt in Violu!ion of42 U.S.C. §§ ZOOGc-Z(a}{ l). et seq.; Rctalla!ion in Violatiun of 42 U.S,C. §§ 2000e-3(a); Foilure lo
Prevcnl Harassmcm. Dbczimina.iion, and Rctnlialicn in Violalion of42 U.S.C. §§ 2000¢~2(a)(l). el scq.; Violation of Equal Pay Act 29 U.S.C. §§ ZOS(d)(l), cl seq.

 

 

 

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94. 'l`he misconduct of MOLINA in retaliating against Plaintiff for objecting to
BARLOW’s, NOVELLO’s and KUR'I`Z’ misconduct violated Cal. Labor Code § 1102.5 (b).

95. As a direct, foreseeable and proximate result of Defendant’s unlawful actions,
Plaintiff has suffered and continue to suffer losses in past and future earnings, equity and other
employment benefits and has incurred other economic losses.

96. As a direct, foreseeable, and proximate result of Defendant’s unlawful actions,
Plaintiff has suffered substantial emotional distress, humiliation, shame, and embarrassment all
to Plaintist damage in an amount to be proven at the time of hial.

97. Defendant committed the acts herein despicably, maliciously, fraudulently, and
oppressively, with the wrongful intention of injuring Plaintiff, from an improper and evil motive
amounting to malice, and in conscious disregard of the rights and safety of Plaintiff and others.
Plaintiff is thus entitled to recover punitive damages from Defendant in an amount according to
proof.

SEVENTH CAUSE OF ACTION
Constructive Discharge in Violation of Public Policy

98. Plaintiff realleges paragraphs l through 97 as though fully set forth herein,

99. Plaintiff was subjected to working conditions that violated public policy, in that
Plaintiff was demoted and treated intolerably on the basis of her gender and for resisting and l
reporting Sexual harassment and discrimination, and for reporting misconduct that violated
statutory and common-law. The conditions imposed upon Plaintiff by Defendant would be both
unusually and repeatedly offensive to a reasonable person in Plaintift’s position.

100. Defendant MOLINA intentionally created or knowingly permitted these working
conditions

lOl. These working conditions were so intolerable that a reasonable person in

Plaintiii"s position would have had no reasonable alternative except to resign.

 

 

 

22
Complainl for Damage for chdcr Dism`mination in Violaiion ol°Col. Gov’t Code § 12940(a); Violalion ol'Cnlifcmia Equal Pay Acl; Scxual Harassmcm/Hnstilc
Work £nvironmcnt in Violalion of'Cal. Gov’l Code §§ 12940(0)& U); Rctaliu!ion in Vio!atx'cn ofCal. Gov'l Code § 12940(11); F:xilure lo Prevent Discn'minntion,
Rctalialion and Harascmem in Viclazion ofCa!. Gov'i Code § 12940(k); Violation ofCal, Labor Codc§ l lOZ.S(b); Constructivc Dischorgc in Vio!a!ion ofPublic
Policy; Violotion ofCal. labor Code §§ 226 et scq,; Violalion ofCal. Labor Code § 11985; Gcndcr Discrimina!ion in Vio!ation 0l'42 U.S.C §§ 2000¢'.'2(8)(!), ct seq.;
Sexual Haxassmcnl/Hostile Work Envimnmcr\t in Vi`olaxian of`42 U.S.C. §§ 2000e_2(a)(l), ct scq.; Rctaliation in Vio!alion of 42 U.S.C. §§ 2000e-3(a); Fuilure to
Prevcn\ l-lnrassmcnl, Discriminnilon, and Rctaliation in Violation of 42 U.S.C. §§ 2000e--2(a)(l), ct seq.; Violalion of Equal Pay Act 29 U.S.C. §§ 206(d)(l),c1 seq.

 

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102. The adverse working conditions Would be unusually and repeatedly offensive to a
reasonable person in Plaintift‘s position.

n 103. Plaintiff found the conditions to be unusually and repeatedly offensive

104. Defendant MOLINA’s officers, managing agents, and supervisory employees
intentionally created or knowingly permitted working conditions to exist that were so intolerable
that a reasonable person in Plaintiff s position would have had no reasonable alternative except
to resign.

105. The intolerable working conditions were a substantial factor in causing Plaintiff’s
resignation

106. Plaintiff was harmed.

l()'/. The intolerable working conditions were a substantial factor in causing Plaintifi’s
harm.

108. In committing the misconduct alleged herein in violation of California
Govemment Code §§ 12940(a) et seq. Labor Code §§ 1102.5 et seq., and 42 U.S.C. §§ 2000e et
seq., Defendant has violated public policy. 'Ihat is, by causing the constructive discharge of
Plaintiff on the basis of her gender, and because she was engaged in protected activity,
Defendant has violated fundamental tenets of equitable employment law.

109. As a direct, foreseeable and proximate result of Defendant’s unlawful actions,
Plaintiff has suffered and continues to suffer losses in past and future earnings, equity and other
employment benefits, and has incurred other economic losses.

110. As a direct, foreseeable, and proximate result of Defendant’s unlawful actions,
Plaintiff has suffered substantial emotional distress, humiliation, shame, and embarrassment all
to Plaintiti’s damage in an amount to be proven at the time of trial.

lll. Defendant committed the acts herein despicably, maliciously, fraudulently, and
oppressively, with the wrongful intention of injuring Plaintiff, from an improper and evil motive

amounting to malice, and in conscious disregard of the rights and safety of Plaintiff and others.

 

 

 

23
Complnim for Damnge for Gender Discrimina\ion in Violsticn of Cal. Gov‘t Code § 12940(a); Violalion ofCalifomia Eqiml Poy Act; Scxual Hurassmenr/Hostile
Work Envimnment ln Violaxion ofCal. Gov’t Code §§ 12940(a) & (j)‘, Retalialion in Viola!ion ofCul. Gov't Code § 12940(11)', Failure to Prcvent Discriminallon,
Retalia!ion and Hurassment in Violau'cn ochxl. Gov'l Codc§ 12940(k); Violntinn ofCal. labor Codc§ l l02.5(b); Constructive Dischorge in Violmion of Public
Policy, Viclatlon ofCal. Labor Code §§ 226 ct seq.‘, V`tclntion ofCal. Lxxbor Code § l 198.5; Gcnder Discrimino,tion in Viclotlon of 42 U.S.C §§ ZDOOc-Z(u)(l). ct scq.;
Scxual Ham:smcnt/Hostilc Work Envimnmcnt in Violation of42 U.S.C. §§ 2000c-2(a)(t), ct scq.; Remlintion in Vio|a\ion of 42 U.S.C, §§ 2000¢"3(:3); Fnilure lo
?rcvcm Hmssmem, Discriminaxion, and Retnliu\:'on in Violruion of42 US.C. §§ ZODOe-Z(a)(l), et saq.; Violalion cquual Pny Act 29 U.S.C. §§ 206(d)(l ), c\ seq.

 

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Plaintiff is thus entitled to recover punitive damages from Defendant in an amount according to
proof. v

EIGHTH CAUSE OF ACTION
Violation of Cal. Labor Code §§ 226 et seq.

112. Plaintiff hereby incorporates by reference Paragraphs l through lll of this
Complaint as if fully set forth herein.

l 13. On or about August 10, 2016 Plaintiff made a written request to inspect records
pursuant to Cal. Labor Code §§ 226 et seq.

114. Defendant MOLINA failed to comply with Plaintiff’ s request made pursuant to
Cal. Labor Code §§ 226 et seq.

115. Plaintiff is entitled to statutory damages from Defendant’s failure to comply with
Cal. Labor Code §§ 226 et seq., in an amount according to proof, including costs and attorney’s

fees.

NINTH CAUSE OF ACTION
Violation of Cal. Labor Code § 1198.5

116. The Plaintiffrealleges paragraphs 1 through 115 as though fully set forth herein,

l 17. On or about August IO, 2016 Plaintiff made a written request to inspect records
pursuant to Cal. Labor Code § 1198.5. Defendant herein failed to comply with Plaintiffs request
made pursuant to Cal. Labor Code § 1198.5.

118. Plaintiff is entitled to statutory damages, costs, and attorney’s fees in an amount

according to proof pursuant to Cal. Labor Code § 1198.5.

TENTH CAUSE OF ACTION
Gender Discrirnination in Violation of 42 U.S.C. §§ 2000e-_2(a)(1), et seq.

119. Plaintiff realleges paragraphs l through 118 as though fully set forth herein,

 

24
Ccmplaint for Damagc for Gcndcr Dism'minalion in Viola!icn ofCal. Gov'l Code § 12940(c); Violtuion oanlifomia Equal Pay Acx; Sexual Haxnssmcn\/Hosxile
Work Envimnmem ln Violation of Cal. Gov'l Code §§ l2940(a) & U); Retaliznion in Violalion ofCaL Gov't Code § l2940(h); Failure to prevent Discn'mination,
Rcialiallcn and Hm'assmmt in Vioioticn ofCa\. Gov't Code § l2940(k); Violaxion of Cal. Labor Code§ l lOZ.$(b); Constmr.tivc Discbnrgc in Vio!ation of Public
Policy; Violaticu ofCal. Labor Code §§ 226 et scq.; Violatiou of Cal. Labcr Code § l 198.5: Gmdcr Discriminn!ion in Violation of 42 U.S.C §§ ZOOGc-Z(o)(l), ct seq.;
$exual Hnmssmcnx/Hostile Work Euvironmenr in Vlokm'on of 42 U.S.C. §§ 2000e-2(n)(l), ex scq.; Rctalixuion in Violation of42 U.S.C. §§ 2000e-3(a); thilutc lo
Frcvcnl Hmnssmcm, Discriminalion, and Rclclin\ion in Violnlion of42 US.C. §§ 2000e-2(u)(l), cl seq.; Vicla\ion of Equal Pay Act 29 U.S.C. §§ 206(Xm ), ct seq.

 

 

 

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120. Plaintiff was treated disparately and constructively discharged based upon her
gender, The gender of Plaintiff was a motivating factor in the adverse employment decisions
described herein taken by Defendant at the time the decisions were made.

121. The actions of Defendant constituted gender discrimination pursuant to 42 U.S.C.
§§ 2000e, et seq., as amended by the Civil Rights Act of 1991.

122. As a proximate result of Defendant’s discriminatory actions against Plaintiff,
Plaintiff has been hanned in that she has suHered the loss of past and future wages, salary,
equity, and benefits.

123. As a further proximate result of Defendant’s discriminatory actions against
Plaintiff, Plaintiff has suffered humiliation, mental anguish, and emotional and physical distress,
all to her general damages according to proof.

124. Defendant committed the acts herein despicably, maliciously, fraudulently, and
oppressively, with the wrongful intention of injuring Plaintiff, from an improper and evil motive
amounting to malice, and in conscious disregard of the rights and safety of Plaintiff and others.
Plaintiff is thus entitled to recover punitive damages from Defendant in an amount according to
proof.

ELEVENTH cAUsE or AcTioN

Sexual Harassment/Hostile Work Environment in Violation of
42 U.S.C. §§ 2000e-2(a)(1), et seq.

125 . Plaintiff realleges paragraphs l through 124 as though fully set forth herein.

126. Plaintiff was repeatedly subjected to verbal comments and intimidation of a
sexual nature, including but not limited to sexual advances and requests for sexual conduct.

127. The perpetrators of the harassment were supervisory agents of Defendant
MOLINA, and were PlaintiH’s immediate supervisors

128. Defendant’s supervisors’ conduct was unwelcome.

 

25
Comp!aint for Damage for Gcndcr Dism'imination in Vr'olznion ofCal. Gov`r Code § 12940(n); Viclau'un of`Cnlifomia Equa\ Pay Acl; Scxual Harassmm!/Hosmc
Work Envimnm¢ru in Violmion nfCal. Gov’t Code §§ 12940(a) & O); Rctaliaticn in Vlol:uion ofCal. Gov'! Code § 12940(h); Failurc to Prevent Discrimination,
Rcts!iation and Harassrnem in Violalion ofCal. Gov'l Code § l2940{k); Violan`on ofCal. Lnbor Code§ l \02.5(b); Construc!ive Dischnrge in Violatiou of Public
Policy; Violaxion ofCal. labor Code §§ 226 el scq.; Violatioo ofCal. Labor Code § l l98.5; Gender Disedminution in Violaiion of42 U.S.C §§ ZODOc-Z(a)(l). et seq.',
Seuual Ramssmmtfliostile Work Envircnmcnt in Viclation of42 U.S.C. §§ 2000e-2(a)(l), et seq.; Rctnlintion in Violation of 42 U.S.C. §§ 2000e-3(a); Failure to
Prevcnt Hansment, Discn'mina!lon, and Rctulirxtion in Viola!ion of42 U.S.C. §§ 2000<:--2(:\)(1), d seq.; Violntion of Equal Pay Act 29 U.S.C. §§ 206(d)(l). et seq.

 

 

 

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129. Defendant’s supervisors’ conduct was sufficiently severe or pervasive to alter
conditions of Plaintiff’s employment and created a sexually abusive or hostile work
environment

130. Plaintiff perceived the working environment to be abusive or hostile.

131. A reasonable woman in Plaintiff’s circumstances would consider the working
environment to be abusive or hostile.

132. As a direct, foreseeable and proximate result of Defendant’s unlawful actions,
Plaintiff has suffered and continue to suffer losses in past and future earnings, equity and other
employment benefits and has incurred other economic losses.

133. As a direct, foreseeable, and proximate result of Defendant’s unlawful actions,
Plaintiff has suffered substantial emotional `distress, humiliation, shame, and embarrassment, all
to Plaintist damage in an amount to be proven at the time of trial.

134. Defendant committed the acts herein despicably, maliciously, fraudulently, and
oppressively, with the wrongful intention of injuring Plaintiff, from an improper and evil motive
amounting to malice, and in conscious disregard of the rights and safety of Plaintiff and others.
Plaintiff is thus entitled to recover primitive damages from Defendant in an amount according to

proof.
TWELFTH CAUSE OF ACTION

Retaliation in Violation of 42 U.S.C. §§ 2000e-3(a)

135 . Plaintiff realleges paragraphs l through 134 as though fully set forth herein,

136. 42 U.S.C. §§ 2000e-3(a) makes it an unlawful employment practice for a person
covered by the Act to discriminate against an individual because she has opposed any practice
made an unlawful employment practice by this subchapter, or because she has made a charge,
testified, assisted, or participated in any manner in an investigation, proceeding or hearing under

this subchapter

 

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Comp!ninx for Da.mage for Gender Dlserimina!lon in Violation oanl. Gov’t Code § 12940(a); Violation of`Califomia Bqual Pay Aet; Scxual Harassmcnl/Hostile
Work Envimnmcnx in Violmion ofCal, Gov'l Code §§ 12940(3) & (j); Re!alialion in Violnxion ofCal. Gov’l Code § 12940(h); Failure lo Prcvcm Diseriminnlion,
Retalia!ion and Hara$mcnl in Vio!ation ofCal, Gov'| Code § 12940(k); Violation oanl. Lubcr Code§ l 102.5(17); Construcxive Discl\nrge in Violation of Public v
Policy; Violatlcn ofCal. Lsxbor Code §§ 226 ct seq.; Violaxion ofCal. Lnbor Code § l 198.5; Gendcr Discriminaticn in Violaxion of 42 U.S,C §§ 20000~2(5)(1), cl seq.;
Scxnal Hnrassmcnt/Hosxilc Work Envimnmcnt in Violalion of42 U.S.C. §§ 2000e-2(a)(l), cl seq.; Rcta|imion in Violaiion o!'42 U.S.C. §§ 20001:~3(8), Failurc lo
Ptcvctu Ha:msment, Discn'mination, and Rctaliation in Viola\ion of 42 U.S.C. §§ 2000e--2(o)(l), ct scq.; Violazion oquual Pay Acl 29 U.S.C. §§ 206(d)(l), ct seq.

 

 

 

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Case 2:17-cv-01465-VAP-PLA Document 1-5 Filed 02/22/17 Page 27 of 40 Page |D #:40

activities.

B.

137. Until her constructive discharge, Plaintiff engaged in numerous protected

These activities included, but were not limited to, the following:

Plaintiff advised HR to investigate employee’s discrimination complaints even if
BARLOW disagreed;

Plaintiff complained to HR that BARLOW was wrongfully blocking her promotion; ~
Plaintiff confronted BARLOW about his interference With and obstruction of the HR
investigation;

Plaintiff expressed to management and HR that she was not comfortable working
with NOVELLO who had sexually harassed her in the past;

Plaintiff complained to BARLOW, management, and HR that NOVELLO removed
high-level HR issues from her; l
Plaintiff reported to management and HR, that BARLOW had tried to insulate the
Legal Department from HR supervision;

Plaintiff reported to management and HR BARLOW’s instruction to eliminate HR
and instead address all personnel problems with him or NOVELLO;

Plaintiff informed NOVELLO that BARLOW’s “all hands” meeting and instruction
not to go to HR to discuss problems was a direct retaliation against her because she,
as part of her job, advised I-lR regarding discrimination complaints;

Plaintiff reported to HR that two male employees had been promoted without having
ever managed anyone or any process and were less qualified than she;

Prior to the March 4"‘ retreat, the Plaintiff expressed her ongoing concerns to HR and
management about being in close proximity to NOVELLO;

Aiter the retreat, Plaintiff reported the serious sexual misconduct of NOVELLO to
HR;

Plaintiff filed a formal complaint against NOVELLO with HR;

. Plaintiff reported to management that BARLOW displayed a lack of knowledge

regarding employment law matters;

 

 

 

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Compluim for Damugc for Gcm!er Dixcriminu¢ion in Violtulon of Cal. Gov’t Code § 12940(;\); Viola!ion of Califomin Equal Puy Acl; Scxunl Hamssmml/Hoslile
Wolk Envimnmcn! fn Violu!i<m oanl. Gov't Code §§ 12940(\:) & (j); Remlia!inn in Vio¥all<m of Cal. Gov‘t Code § 12940(h); Failurc lo P¢ev¢nt Discrimination.
Rctalialion and Haxassmcm in Viola!ion of Cal. Gov't Code § 12940(k); Violaticn chal. Lal)or Codc§ 1102.58)); Conslrucrive Discharge in Vio!axion oI`Pnblic
Policy; Violation ofCal, Labor Code §§ 226 et seq; Violaxion ofCal. Lubor Code§ l 198.5; Gcndcr Discrimination in Violation of 42 U.S.C §§ 20®¢-2(:!)(!), ct soq,;
Scxunl Hazassmcru/|'!osiile Wod< Envircnmenl in Violalion of 42 U.S.C. §§ 20001:~2(3)(1), cr scq.; Rcralia!inn in Violation of 42 U.S.C. §§ 2000e-3m); Failure lo
Pccvczu Harassmcm, Discrimination. and Reraliation in Vicla!ion of42 U.S.C. §§ ZOOOe--Z(o)(l), ct seq.; Vio|mion of£qual Fay Act 29 U.S.C. §§ 206(d)(l ), ct seq.

 

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n, Plaintiff reported to management that BARLOW repeatedly failed to maintain
confidential inforrnation;

0. Plaintiff reported to management that NOVELLO had made misrepresentations about
material facts and issues, and also mispresented management’s wishes regarding case
handling;

p. Plaintiff reported to management that BARLOW repeatedly disparaged members of
management to other employees;

q. Plaintiff reported to HR that NOVELLO’s, BARLOW’s, and KURTZ’ conduct
toward Plaintiff and other female employees was negatively impacting MOLINA;

r. Plaintiff reported her conversation with Dr. Molina to HR regarding her complaint
against NOVELLO;

s. Plaintiff reported to BARLOW that she had made a complaint against NOVELLO;

t. Plaintiff met with HR to express her serious concerns about the results of the
investigation into her complaint against NOVELLO;

u. Plaintiff was especially concerned about working with and for BARLOW and
reported these concerns to HR;

v. Plaintiff reported to management that BARLOW, NOVELLO, and KURTZ had
harassed her and other female employees and discriminated and retaliated against her.

w. Plaintiff reported to management, HR, and BARLOW that BARLOW’s actions
towards her after NOVELLO’s termination were retaliatory and causing her a great `
deal of sness.

138. Defendant retaliated in the following ways, among others:

a. BARLQW falsely accused Plaintiff of making a complaint against him to HR;

b. BARLOW blocked Plaintiff ‘s promotion;

c. BARLOW continually made disparaging remarks about Plaintiff to her coworkers

and outside counsel;

 

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Complaint for Damage for Gcndcr Discriminmion in Vio\ntion ofCal. Gov’t Code § 12940(3); Vlolalion of Califomin Equul Pny Acr, Sexual HrunssmcntlHostilc
Wcrk Envimnment in Vio|axicn ofCaI. Gov't Code §§ 12940(a) & (j): Retslia!ion in Violau'on ol`Cal. Gov’t Code § 12940(h); Failure to Preven\ Discrimination,
Rctaliation and Harassmcnt in Violuxion ofCal. Gov‘t Code § 12940(3<); Violaxion of Ca|. labor Code§ l \02.5(b); Constmctiv~e Discharge in Violrnion ofPubllc
Poliey', Viclaticn ofCal. Labor Code §§ 226 et seq.', Violation ol`Cal. labor Code § 1198.5; Gcndcr Discrimina!ion in Vr'o!alion of 42 U.S.C §§ 2000€.~¢2(8)(¥), et seq.;
Scxual Hamssmmt/Hostile Woxk Environment in Vio!ation of42 U.S.C. §§ 2000¢~2(0)(1), et scq.; Rc!alialion in Vio!otion of 42 U.S.C. §§ 2000e-3(a); Failnrc \0
Frcvem Harassmcnt, Discrimlnation. and Rclalintion in Violation of 42 U.S.C. §§ ZOOOc-Z(a)(l), et scq.; Viola!ion of Equnl Pny Act 29 U.S.C. §§ 206(d)(l), ct seq.

 

 

 

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d. “High~level HR issues” were removed from Plaintiff, preventing her from doing her
j Ob;
e. Plaintiff received undo and unfounded criticism of her work performance by
NGVELLO;
, f. BARLOW instructed employees not to consult with HR regarding employment
issues, preventing Plaintiff nom performing her advisory role;

g. BARLOW issued a false account of why NOVELLO left MOLINA;

h. A male, who was less qualiiied than Plaintiff, was promoted to NOVELLO’s vacant

position;

i. MOLINA violated its own policies and procedures by not investigating Plaintiff's

complaints;

j. MOLINA required that Plaintiff report to BARLOW, who had consistently

demonstrated discriminatory and retaliatory conduct toward Plaintiff;

k. MOLINA interfered with the reporting of subordinates to Plaintiff, usurping her

authority, and rendering it much more difficult for her to do herjob.

139. Defendant MOLINA subjected the Plaintiff to adverse employment actions,
including demotion, blocking her promotion, preventing from doing her job, hostile work
environment, harassment and retaliation, resulting in constructive discharge

140. A reasonable person would find Defendant’s misconduct materially adverse

l4l. But for Plaintiff engaging in the subject protected activity, she would not have
been subjected to the adverse employment actions alleged herein.

.142. As a direct, foreseeable and proximate result of Defendant’s unlawful actions,
Plaintiff has suffered and continues to suffer losses in past and fixture earnings, equity and other
employment benefits and has incurred other economic losses.

143. As a direct, foreseeable, and proximate result of Defendants’ unlawful actions, the
PlaintiB` has suffered substantial emotional distress, humiliation, shame, and embarrassment all

to Plaintiff’s damage in an amount to be proven at the time of tn`al.

 

 

 

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Complain! for Dnmage for Gcndcr Discn'mina!ion in Violntion of Cal. Gov'x Code § 12940(a); Violxition ofColifcmin Equal Puy Acl; $exual Harassmcn!/Hostilc
Woik Environment ln Viol:uion oanl. Gov'r Code §§ 12940(a) & (j): Rclalimicn in Vic!ailon oanl. ch'i Code § 12940(h); Fnilum ic Prcvcm Dlscrimination,
Rctslicllcn and Haxassmcm in Violatlon ofCal. Gov't Code § 12940(k); Vi`o\alion oszl. Labor Codc§ ll02.5(b): Ccnstnictivc Dischargc in Vio!alion ofPuhlic
Polley; Viclation ofCal. Labc~rCodc §§ 226 ci seq.; Violn\lon ofCal. Labor Code § 11985; Gender Discriminallon in Violniion of 42 U.S.C §§ 2000c~2(a)(l), et seq.;
Sexual HamssmmtfHosti!o Woric Envi'mruncnt iii Violiuion of 42 U.S.C. §§ ZOUOO-Z(a)(l). cl soq.; Rctallatioa in Violatioa of42 U.S.C. §§ 2000c'3(n); Failure to
Prevcnt Hnrassmcz\\, Discn`minalion, and Rctalialion in Viclinian ol°42 U.S.C. §§ 2®0¢-2(8)( l), ct seq.; Violalion oquunl Pay Act 29 U.S.C. §§ 206(¢1)(|), ct ch.

 

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144. Defendant committed the acts herein despicably, maliciously, fraudulently, and
oppressively, with the wrongful intention of injuring Plaintiff, from an improper and evil motive
amounting to malice, and in conscious disregard of the rights and safety of Plaintiff and others.
Plaintiff is thus entitled to recover punitive damages from Defendant in an amount according to

proof.

THIRTEENTH CAUSE OF ACTION
Failure to Prevent Harassment, Discrimination, and Retaliation in Violation of
42 U.S.C. §§ 2000e_2(a)(1), et seq.

145. Plaintiff realleges paragraphs 1 through 144 as though lillly set forth herein,

146. Defendant MOLINA was at all times on actual notice of NOVELLO’s propensity
to sexually harass Plaintiff, yet failed to take appropriate action. Defendant failed to adequately
investigate Plaintiff’s allegations regarding NOVELLO’s misconduct, and failed to take all
reasonable steps to prevent him from further sexually harassing Plaintiff. Defendant failed to
take all reasonable steps necessary to prevent harassment from occurring

147. Defendant MOLINA was at all times herein on actual notice of the retaliatory and
harassing actions committed by BARLOW, NOVELLO, and KURTZ against Plaintiff.
Defendant failed to adequately investigate Plaintist allegations regarding BAR.LOW’s,
NOVELLO’s, and KURTZ,’ misconduct, and failed to take all reasonable steps to prevent them
from further retaliating against and harassing Plaintiff. Defendant failed to take all reasonable
steps necessary to prevent harassment from occurring

148. As a direct, foreseeable and proximate result of Defendant’s unlawful actions,
Plaintiff has suffered and continues to suffer losses in past and future earnings, equity and other
employment benefits and has incurred other economic losses.

149. As a direct, foreseeable, and proximate result of Defendant’s unlawful actions,
Plaintiff has suffered substantial emotional distress, humiliation, shame, and embarrassment, all

to Plaintiff's damage in an amount to be proven at the time of trial.

 

 

 

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Complaim for Domnge for Gcndcr Discrimina!ion in Vio!axion ofCul. Gov't Code § 12940(0); Violation ofCalifcmlu Eq\ml Pay Act; Scxuul Hnmssmnt/Hostlle
Work E\\vimnmcnt fn Violsliou oan\. Gov‘t Code §§ 12940(a) & U); Rcmliatlon in Violoxicn ofCal. Gov't Code § 12940(h); Fnilurc to Prcvcnt Disctimlnatlon,
Rcla\iaiion and Haruasment in Violatiou oanl. Gov't Code § 12940(k)'. Violalion ofCal. labor Cod¢§ l lOZ.$(b); Conslructiv¢ Dischargc in Violation ofPublic
Po\icy; Violation ofCal. Labor Code §§ 226 ct seq.; Viclution of Cnl. Labor Code § l 198.5; Gcndcr Discrimina!ion in Violalion of 42 U.S.C §§ 2000e-2(o)(\), cl scq,;
Scxusl Haxassmmt/Hostile Work Environmcnt in Viola!ion of42 U.S.C. §§2000¢-2(0)(1),¢! scq.; Rctaliation in Violalion of42 U.S.C. §§ 2000¢'3(¢1); Failun: to
vaem Hmassmcn!, Discrimlnallon. and Rctalimion in Violaiion of42 U.S.C, §§ ZOGDc-Z(n)(l), ct seq.; Violulion of Equal Pay Act 29 U.S.C. §§ 206(¢!)(1), c\ seq.

 

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z 150. Defendant committed the acts herein despicably, maliciously, fraudulently, and
oppressively, with the wrongful intention of injuring Plaintiif, from an improper and evil motive
amounting to malice, and in conscious disregard of the rights and safety of Plaintiff and others.
Plaintiff is thus entitled to recover punitive damages from Defendant in an amount according to

proof.

FOURTEENTH CAUSE OF ACTION
Violation of Equal Pay Act 29 U.S.C. §§ 206(d)(1), et seq.

151. Plaintiff realleges paragraphs l through 150 as though fully set forth herein.

152. At all times herein, Plaintiff did not receive equal pay for equal work done by
similarly situated individuals in the employ of Defendant, in violation of the Federal Equal Pay
Act, 29 U.S.C. 206(d)(1), et. seq. The rate of pay of the Plaintiff was less than the rates paid to
employees of the opposite sex in the same establishment for equal work on jobs the performance
of which requires equal skill, effort, and responsibility, and which are performed under similar
working conditions.

153. At all times herein, Plaintiff performed the responsibilities of Assistant Vice
President, but did not receive the title or compensation relative thereto. Only males in the
litigation department received the title and commensurate compensation, despite the fact that
Plaintiff and other females did the same work. Further, male employees were promoted over
female employees who had similar qualifications and were doing similar work.

154. As a proximate result of Defendant’s discriminatory actions against Plaintiff,
Plaintiff has been harmed in that she has suffered the loss of past and nature wages, salary,
equity, and other benefits in an amount to be proven at the time of trial.

155. As a further proximate result of Defendant’s discriminatory actions against
Plaintiff, Plaintiff has been harmed in that Plaintiff has suffered humiliation, mental anguish, and

emotional and physical distress in an arnoth to be proven at the time of trial.

 

31
Complain! for Da.magc for Gcodcr Discn'mination in Violalion ofCal. Gov't Code § 1294D(a); Violalion ofCalifomio Equal Pay Act; Sexmal Hnmsmmtll»lostile
Wodc Environmcru in Violation ofCal. Gov’t Code §§ 12940(21) & (j); Rctaliaxion in Violation ofCal. Gov't Code § l2940(h); Failurc to Prcvcnt Discrimino!icn,
Rctaliation and Harassmen! in Violaticn of`Cal. Gov’t Code § 12940(k); Violniion ofCal. Labor€odc§ l 102.5(‘0); Cons!mctive Discharge in Violation ofPublic
Policy', Violalion oanl. labor Code §§ 226 et scq.; Violation ofCal. Labor Code § l 198.5; Gcsxdcr Diserimination in Violaxion of42 U.S.C §§ 2000e-2(a)(l), ct seq.;
S¢:xual Harassxncnt/Hostile Work Euvironment in Violmion of42 U.S.C. §§ ZOGOc-~Z(a)( l), ct seq.; Rctalialion in Violntion of 42 U.S.C. §§ 2000e-3(a); Failurc to
Prcvcm Hmassmcnl. Discn`minalion, and Rctaliation in Violation ode l}.S.C. §§ 2000¢-2(3)(|), ct scq.; Viclation ol`Equal Pay Act 29 U.S.C. §§ 206(Xm), el seq.

 

 

 

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PRAYER FOR RELIEF k
WHEREFORE, Plaintiff prays for judgment against Defendant, and each of them, as
follows:
l. For compensatory damages, including but not limited to, past and future lost wages, plus
interest, lost past and future fringe benefits, and lost equity;
2. Por damages for emotional distress and pain and suffering, according to proof allowed by
law;
For punitive damages allowed by law;
For reasonable attorney’s fees;
For an award to Plaintiff of costs of suit incurred herein;

For an award of prejudgment and post-judgment interest; and

."9‘.“":‘>‘.‘"

For an award to Plaintiff of such other and further legal and equitable relief as the Court

deems just and proper.

LAW OFFICES OF DONALD . cKILLOP, SR.

Dated: l /7 /MA
DoN’A‘LD R. ‘McKILLoP, sn""""

ATTORNEYS FOR PLAINTIFF

 

 

32
Complairu for Damage for Gemicr Discrimination in Violmion ofCal. Gov`t Codc§ 12940(a); Violalion ofCalifomiu Equal Pay Act; Scxual Harassmcmfl'lostilc
Work Environmcnt in Violation ofCal. Gov‘t Codc §§ 12940(a) & (j); Retnliation in Violation ol`Cal. Gov't Code § 12940(h); Fnilurc to Prcvcm Dlscrimina.tion,
Rclaliation and Harassmcm 111 Viclulion ofCa| Gov' t Code § l2940(k)'. Viola!ion ofCal. Labor Code§ ll02. S(l)); Conslmctive Discharge in Violntion of Publ1c
Policy; Violnlion ofCal Lubor Code §§ 226 el seq., Violution oanl. Labor Code § l 198. 5; Gcndcr Discn'mination m Violation of 42 U. S. C §§ 2000e-2(a)(l) ct seq.;
Scxual Hamssmcn!/Hostllc Work Environmcnl 1n Vc'olazion of42 U ..S C. §§ 2000e--2(a)(l). ct s¢q.; Rclalialicn' m Violalion of 42 U S. C §§ 2000e J(a); Failurc to
vacnt Hamssmcnt Discrimination, and Rctalintion m Violalion cf 42 U S. C. §§ 2000&-2(3)(1), cl scq.; Violalion of Equul Pay Act 29 U S. C §§ 206(d)(l), ct seq.

 

 

 

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`EXHIBIT

` ' #:47
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Law Ofiices of
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Telephone: 858~487~81 18
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E~Mail: don@mckilloglaw.com

August 10,2016

J. Mario Molina‘, M.D.

Precident & ChiefExecutive Ofticer
Molina Healthcare, Inc.

200 Oceangate, Suite 100

Long Beaeh, Ca 90802

Re: Erin Hiley v. Molina Heali/zcare, Inc., Jq/fBa'rlow, et al.
Our File No.: 830-1001

Dear Dr. Molina:

Initially, please consider this correspondence our client’s request that our office be
provided copies of her personnel tile, hiring documents, investigative files referencing or relating
to her in any way, mite~ups, performance evaluations, and payroll, benefit and other
compensation records on her behalf as required by California law. Enclosed is an Authorization
to Disclose hiformatron properly executed by our client empowering our office to receive these
documents

Secondly, please consider this our demand that you preserve both electronic and tangible

documents as well as other tangible items reasonably related to our client’s employment with
Molina and any potential claim that Ms. Hiley may pursue This request specifically includes,

spoliation of evidence, and can result in significant monetary and evidentiary sanctions _Il_n_iga_r_d

Securigg Insurance Comp_agv v. Lakewood Engn° eering and Manufacturing Co;g 982 F2d

363(9thCir 1992); Zubulakee v. UBS Warbur LLC F.R.D. 212, 216 (S.d.N.Y.ZOOB); advisory
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J. Man'c Molina, M.D.
August lO, 2016
Page 2

committee notes to FRCP37(2006 Amendment).

Finally, please be advised that administrative claims are in the process of being filed with
the Calit`ornia Department ofFair Employment and Housing and the Equal Employment
Opport\mity Commission. We anticipate receipt of Right to Sue letters in short order, followed
immediately thereafter by litigation

As you undoubtedly know, Ms. Hiley has suffered significant and substantial damages as

a result of the tortious and illegal conduct of Molina and its employees, However, should you
deem it appropriate, our client is willing to engage in meaningful discussions to resolve all issues

g related to her employment separation, including participating in prompt mediation To that end,
should you wish to explore a resolution of all issues that is fair and equitable to all parties, I
invite you to contact me at your earliest convenience lf we do not hear :&om you, we will assume
that you are not interested in pursuing resolution of these claims and we will continue with filing
the complaint and litigating this matter.

If you have any questions or require additional information, please do not hesitate to
contact me. In the inten’m, l thank you for your anticipated prompt attention, and l look forward
to receipt of the requested documents within the statutory time period.

Sincerel , 4
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DO D R. McKILL
ATTORNEY AT LAW

enclosure
cc; Jeti`Barlow, Esq. w/o enclosure

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EXHIBIT
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if n ‘l DEPARTMENT ot= FAIR EMPLOYMENT & Housn\ic mamie/minn

y 2218 Kausen Dttve. Sulte 100 l E!k Gtove t CA l 95758
§ 1.» 7 amana-1684 t TDD aotwot»aazo
www.dteh.ca.gov t emall: ccntact.center@dteh.ca.gov

August lO, 2016

Erin Hiley
1504 Lynngrove Drive
Manhattan' Beach California 90266

RE: Notice of Case Closure and Right to Sue
DFEl-I Matter Number: 795345-243932
Right to Sue: I-liley / Molina l-iealthcare, lnc.

Dear Erin Hiley,

This letter informs you that the above-referenced complaint was filed with the Department of Fair
Employtnent and Housing (DFEH) has been closed effective August lO, 20!6 because an immediate
Right to Sue notice was requested DFEH will take no further action on the complaint.

This letter is also your Right to Sue aotice. According to Government Code section l2965, subdivision
(b), a civil action may be brought under the provisions of the Fair Ernployment and Housing Act against
the person, employer, labor organization or employment agency named in the above-referenced
complaint The civil action must be filed within one year from the date of this letter.

To obtain a federal Right to Sue uotice, you must visit the U.S. Equal Employment Opportunity
Commission (EEOC) to tile a complaint within 30 days of receipt of this DFEH Notice of Case Closure
or within 300 days of the alleged discriminatory act, whichever is earlier.

Sincerely,

Department of Fair Employment and Housing

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800-884-1884 ITDD 800-700-2320

wmatath l entall: ccntact.eenter@nfen.ca.gov

 

Enclosures

cc: Jeff` Barlow

 

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NOTlCE OF RlGl-IT TD SUE (/SSUED ON REQUEST)
To: Erln Hlley me: Los Angeles Dlstrlct Ofllce
1504 Lynngrova Drlva 255 E. Templo St. 4th Floor

Manhattan Beach,.CA 90268 Los Angelas, CA 90012

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EEOC Charga No. EEOC Represenlatlve Telephone No.
Patrlcla Kano,
480~2016-02836 Enforcement Manager (213) 894-1021

 

(See also the additional information enclosed wllh this fonrr.)
Nonce ro me Peascu Aeoateveo:
Tlt|e Vll of the Clvll nghts Act of1864, the Amerlcans with Dlsabllltlee Act (ADA}, or the Genetlc lnl`ormatlon Nondlscrlmlnatlon
Act (GINA): Thts ls your Notlce of nghl to Sue. issued under Tllle V|l. the ADA or GINA based on the above-numbered charge lt has
been lseued at your request Your lawsuit under Tltle Vll, the ADA or GINA must ha alert ln a federal or state courtw H 90 DAY
of your receipt of thls notice; oryour right to sue based on lhls charge will be lost. (The lime limit for ming still based on a claim under
state law may be dlfferenl.)

More than 180 days have passed since the filing of this charge.

Less than 180 days have passed since the filing of this charge, but l have determined that lt is unlikely that the EEOC wlll
be able to complete its administrative processing within 180 days from the tillng of th|s charge

The EEOC is terminating its processing of this charge

UH HU

The EEOC wlll continue to process this charge

Age Dlscrlmlnatton ln Employmant Act {ADEA): You may sue under the ADEA al any time from 60 days allerthe charge was flle until
90 days alter you receive notice that we have completed action on the charge ln thls regard, the paragraph marked below applles to
your case:

The EEOC ls closing your case. Thorefcre. your lawsuit under the ADEA must be filed ln federal or state courtm
90 DAYS of your receipt of title Notlce. Oll\erwlse. your right to sue based on the above-numbered charge will be lost

ij

The EEOC is continuing llc handling of your ADEA cese. Howaver, lf 60 days have passed since the filing of the charge.
you may llle sult ln federal or state court under the ADEA at this tlme. _ 4

Equal Pay Act (EPA}: You already have the right to sue under the EPA (tittng an EEOC charge ls not requlred.) EPA suits must be brought
ln federal or state court within 2 years (3 years for willful vtolatlons) of the alleged EPA underpayment Thls means that backpay due for
any violations that occurred more than 2 years 13 years} before you file suit may not be collectible.

ll you tile sult, based on this oharge, please send a copy cf your court complaint to this office

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Sacramento, CA 95825

